       Case 4:20-cv-00008-AT Document 359 Filed 10/22/20 Page 1 of 5




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION


JARROD JOHNSON, individually, and )
on Behalf of a Class of persons similarly )
situated,                                 )
                                          )
Plaintiff,                                )
                                          )
                                          )
V.                                        )
                                          )
                                          )
3M COMPANY; ALADDIN                       )
MANUFACTURING CORPORATION; )
AMERICHEM, INC.; ARROWSTAR, )
LLC; CHEM-TECH FINISHERS, INC.; )
COLOR EXPRESS, INC.; COLUMBIA )                  Civil Action No. 4:20-cv-0008-AT
RECYCLING CORP.; CYCLE TEX                )     DEFENDANT PSG-FUNCTIONAL
INC.; DALTON UTILITIES; THE               )  MATERIALS,    LLC’s MEMORANDUM OF
WATER, LIGHT, AND SINKING                 ) LAW IN SUPPORT OF MOTION TO DISMISS
FUND COMMISSION OF THE CITY )
OF DALTON, GEORGIA; DALTON- )
WHITFIELD SOLID WASTE                     )
AUTHORITY; DYSTAR, LP; E.I. DU )
PONT DE NEMOURS AND                       )
COMPANY; ENGINEERED FLOORS, )
LLC; FIBRO CHEM, LLC; GREEN               )
VULTURE, LLC; IMACC                       )
CORPORATION; J&S RUG                      )
COMPANY, INC. D/B/A LOG CABIN )
COMPANY; JB NSD, INC.; MFG                )
CHEMICAL, LLC; MILLIKEN &                 )
COMPANY; MOHAWK CARPET,                   )
LLC; MOHAWK INDUSTRIES, INC.; )
ORIENTAL WEAVERS, USA, INC.; )
PSG-FUNCTIONAL MATERIALS,                 )

                                     1
       Case 4:20-cv-00008-AT Document 359 Filed 10/22/20 Page 2 of 5




LLC D/B/ A PEACH STATE LABS;             )
SECOA TECHNOLOGY, LLC; SHAW              )
INDUSTRIES, INC.; SHAW                   )
INDUSTRIES GROUP, INC.;                  )
TARKETT USA, INC.; THE                   )
CHEMOURS COMPANY; and THE                )
DIXIE GROUP, INC.,                       )
                                         )
Defendants.

               POLYVENTIVE, LLC MOTION TO DISMISS



      Polyventive, LLC, without submitting to the jurisdiction of this Court

makes this special appearance and respectfully moves to dismiss Plaintiff’s

Second Amended Complaint, and as applicable any prior Complaint (collectively

“Complaint”), as to Polyventive, LLC pursuant to Rules 8, 12(b)(1) and 12(b)(6)

of the Federal Rules of Civil Procedure (“FRCP”) and jurisprudential and

Constitutional principles of standing and subject matter jurisdiction. Plaintiff

served PSG Functional Materials, LLC (“PSG”), which is not an existing legal

entity, through the registered agent for Polyventive, LLC. Plaintiff has filed suit

against a non-existing entity PSG Functional Materials, LLC. The accompanying

motion to dismiss pursuant to Rules 8, 12(b)(1) and 12(b)(6) of the Federal Rules

of Civil Procedure (“FRCP”) and jurisprudential and Constitutional principles of

standing and subject matter jurisdiction is filed out of an abundance of caution.

      In support of this motion, Polyventive, LLC relies on the pleadings, a
                                         2
        Case 4:20-cv-00008-AT Document 359 Filed 10/22/20 Page 3 of 5




memorandum of law filed simultaneously with the motion, and the Affidavit of

the President of Polyventive, LLC. Plaintiff served PSG Functional Materials,

LLC (“PSG”), which is not an existing legal entity. For the reasons set forth

below, the Court should issue an order dismissing Polventive, LLC, from the

instant litigation

     Respectfully submitted this 22d Day of October 2020.

                                          EARTH AND WATER, LLC

                                          ______________________________
                                           David M. Moore
Promenade, Suite 1900                      Georgia Bar No. 518830
1230 Peachtree Street, N.E.
Atlanta, Georgia 30309                     Attorney for Polyventive, LLC

(706) 553-4463 (facsimile)
(404) 245-5421 (telephone)
David.moore@earthandwatergroup.com




                                      3
        Case 4:20-cv-00008-AT Document 359 Filed 10/22/20 Page 4 of 5




                      CERTIFICATE OF COMPLIANCE


I hereby certify that the foregoing has been prepared with one of the font and point

selections approved by the Court in Local Rule 5.1(C), specifically, Times New

Roman, 14 point.

                                             ____/s/David Montgomery Moore
                                             David M. Moore




                                         4
         Case 4:20-cv-00008-AT Document 359 Filed 10/22/20 Page 5 of 5




                          CERTIFICATE OF SERVICE


I hereby certify that on the 22nd day of October, 2020, the foregoing was served by

electronic filing with the Clerk of Court using the CM/ECF system which will send

notification of such filing to all counsel of record.




                                                        __/s/David Montgomery Moore
                                                        David M. Moore




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